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                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON “BABY
   POWDER” and “SHOWER TO SHOWER”
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION
                                                                 MDL NO. 2738 (MAS) (RLS)
   THIS DOCUMENT RELATES TO:

   Debbie Dorfman, Individually and as
         Representative of the Estate of Lois Starr,
         deceased vs. Johnson & Johnson, et al.
   Case No.: 3:24-cv-04319-MAS-RLS



                                     NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

  Debbie Dorfman, Individually and as Representative of the Estate of Lois Starr, deceased .

         This __2nd___ day of ___April_____, 2024.

                                                       Respectfully submitted,

                                                       ONDERLAW, LLC

                                             By:       /s/_________________
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                                                       William W. Blair, #58196 MO
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                                          177552




                                      Certificate of Service

        The undersigned hereby certifies that this document was filed and electronically served
  by way of the Court’s electronic filing system this __2nd___ day of ___April_____, 2024.


                                                     /s/__________________
